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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

TAMMY MCCOY,                                         )
                                                     )
                Plaintiff,                           )
                                                     )
        v.                                           )   Civil Action No. 2:21-cv-389
                                                     )
PAN AMERICAN GROUP,                                  )
                                                     )
                Defendant.                           )




                        PRE-SETTLEMENT CONFERENCE ORDER

       And now, this 29th day of April, 2022, it is hereby ORDERED that a Settlement Conference

in this case is scheduled for June 2, 2022 at 9:00 AM. This Settlement Conference shall be

conducted via videoconference. More specific information regarding the videoconferencing

instructions and parameters of attendance will be forthcoming.           Set forth below are the

responsibilities of the parties to be completed prior to the Settlement Conference, and the

procedures that the Court will employ in conducting the Settlement Conference.

   1. Pre-Settlement Conference Exchange of Demand and Offer

       The Settlement Conference is more likely to be productive if, prior to the Conference, the

parties have exchanged written settlement proposals. Accordingly, on or before May 12, 2022,

Plaintiff’s counsel shall submit a written itemization of damages and settlement demand to

Defendant’s counsel with a brief explanation of why such a settlement is appropriate. No later

than May 19, 2022, Defendant’s counsel shall submit a written offer to Plaintiff’s counsel with a

brief explanation of why such a settlement is appropriate. If settlement is not achieved, Plaintiff’s



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counsel shall deliver copies of the demand and offer letters to Judge Colville’s chambers by e-

mailing Kathleen_@pawd.uscourts.gov no later than NOON on May 26, 2022. Do not file

copies of these letters on the court docket.

   2. Parties’ Confidential Settlement Position Letters

       On or before NOON on May 27, 2022, the parties shall also separately submit confidential

letters of no more than 5 pages (including any exhibits) to the Court at the above e-mail address

detailing the relative strengths and weaknesses of their case, as well as settlement postures

including monetary amounts. The letter will not be shared with opposing counsel. Accordingly,

candor is expected.

   3. Requirement that all Parties, Representatives with Complete Settlement Authority, and
      Lead Trial Counsel Attend in Person/via VIDEOCONFERENCE

       All parties, representatives with full and complete settlement authority, and lead trial

counsel are required to attend the videoconference. An insured party shall appear by a

representative of the insurer who is authorized to negotiate, and who has authority to settle the

matter up to the entire policy limits. Having a client, insurance carrier, or lead attorney with

authority available only by telephone, while not preferred, is an acceptable alternative, given the

present circumstances surrounding the COVID-19 pandemic.

   4. Settlement Conference Format

       The Court will use a facilitative mediation format. The Settlement Conference will begin

with a joint session with opening presentations by each side. The parties may utilize whatever

presentation they believe will be most effective, including charts, audiovisual, and oral

presentations by counsel and principals.

       The joint session shall be followed by private caucusing by the Court with each party. In

caucus, you should discuss information which may assist in working toward a resolution, but


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which you would prefer not to disclose in direct negotiations. The caucuses are also utilized to

provide an opportunity to assess realistic options for resolution, without endangering any party’s

negotiation posture. Caucusing will continue until an option has been developed which all sides

feel is acceptable.

         The Court expects both the lawyers and party representatives to be fully prepared to

participate. The Court encourages all parties to keep an open mind in order to reassess their

previous positions and to consider creative means for resolving the dispute.

    5. Confidentiality

        All statements made in the course of joint sessions, including opening presentations, are

confidential settlement discussions. Statements may not be used in discovery and are inadmissible

at trial. Any statements made or information disclosed to the Court in private caucus is also

privileged and that disclosure cannot be compelled under any circumstances.




                                             BY THE COURT:


                                             s/Robert J. Colville
                                             Robert J. Colville
                                             United States District Judge


cc: All ECF Registered counsel




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